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3
1
{
1 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA 2 EXHIBITS
2 EN ADHIRALTY
3 CASE NO: 97-4 65-C1V-R1NG 3
4 4 Plaintiff's Exhibit Nos. 1 thru 49 were all pre-marked
HIGOEL CALDERON, 5
5
Plaintifef, 5
. Va.
7 7
REEDERE! CLAUS-PETER OFFEN, GHEE,
G
Defendant. 8
a oe g
li 10
" 41
i2
12
i
13
M4
is Rennies Ships Agency 14
Durban, Sauth Africa 48
1 August 3th, 2909 5:20 a.m.
7 16
1g 17
9 VIDEUTAPED DEPOSITION OF STEFAN RIEWEDOK 18
30 19
21 Tahen before Julia Mecega, Shorthand 20
2? Heporter, Motary Public ln and for the State aE 24
23 Florica at Large, pursuant ta Notice of Taking a9
a4 Deposition filed is the above case.
23
25
24
MOCEGA & ASSOC. (305} 374-0181 25
MOCEGA & ASSOC, (305) 374-0181
2 4
1 APPEARANCES:
2 1 Thereupon,
3° ON BEHALF OF THE PLAENTIFF: 2 STEFAN NIEWIDOK,
T N GROVER, P.A.
4 Ona Eat Broward Bivd. 3 owas called as a witness and, having been first
suite 700
5 Fort Lauderdale, Floride 33301 4 duly sworn, was examined and testified as
BY: Steven Grover, Esq. 5&5 follows:
5
6 MR. ODE LEO: Steve, i just want to
7 ‘
ON BEHALF OF THE DEFENDANT: 7 state For the record that we're here at
8 FOWLER, WHITE, BURNETT 8 the ship's agent's office In Durban.
ESPIRITO SANTO BUILDING
9 L395 Brickell Avenue 9 Tt's coming up on 5:20 a.m. local time,
l4th Fioor -
140 Miami, Florida 33133 10 Sunday, August 9th. Wea tried to do
44 BY: Charlies De Leo, Esq. ‘ 1 this on the ship, but there were
12 technical difficultias with the speaker
42
ALSO PRESENT: Steffan Gryling, Videographer 14 phone, The ship also came In late,
qa Mark Thompson, Videographer 14 didn't arrive alongside till about 2:30
14 16 in the morning. Sa, the problem is the
1B 16 Captain ts sailing for the Perslan Gulf
Ts INDEX 17 around just after noon ijocal time, so
17 18 we've decided ta do this, even though
19 everybody hasn't slept, at 5:20 in the
18 CAPTAIN NIEWIDOK PAGE
20 morning local time.
19 By Mr. Grover 4 241 MR. GROVER: Well, ] requested to
20 22 have six hours for this deposition and
24 23 hopefully it won't take that long. But
3 24 let's get started and see how Fast we
33 25 can go. The fewer objectlons there

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24 23
4 or recordings of any kind were taken of 1 Q. Is it only pictures?
2 Mr. Calderon, the longshoreman that we're here 2 A. Y pictures.—It's also
3 about? 3 written, but only regarding stability, ship's
4 A. I don't know. 4 stability and lash forces and so on,
5 Q. Do you know whether your company 5 Q. Are there any written statements
6 has any policies or procedures having to do 6 or policies that your company has ever
7 with longshoremen? 7 maintained or kept that describe how to safely
B MR. DE LEO: Object to the form. 8 secure cargo on the ships?
9 THE WITNESS: Wo. 9 MR, DE LEO: Object to the form.
10 BY MR. GROVER: 10 THE WITNESS: No.
11 Q. Are there any such policies or 11. BY MR. GROVER:
12 procedures? 12 Q. Only the QSE manual?
13 MR, DE LEQ: He said no, 13 A. Only QSE manual, yes.
14 THE WITNESS: No. 14 Q. Well, I've spent some time looking
15 BY MR. GROVER: 15 at the QSE manual also, and in that manual
16 Q. I didn't hear his answer. 16 there are references to many other manuals and
17 MR, DE LEQ: He said no, 17 documents.
18 THE WETNESS: No, no. 4B MR. DE LEO: Object to form.
19 BY MR, GROVER: 19 BY MR. GROVER:
20 Q. Was your answer “I don't know" or 20 Q. I want to list for you some of
21 was it -- 21 them. One second, please.
22 A. No, no. 22 One of them is called the Quality
23 Q. -- or no you have no such 23. Management Manual. One of them is called --
24 procedures? 24 MR, DE LEO: What section of the
25 A. No. There are no such procedures | 25 QSE are you referring to, Steve?
MOCEGA & ASSOC. (305) 374-0181 MOCEGA & ASSOC. (305) 374-0181
22 24
1 regarding longshoremen. 4 MR. GROVER: If you look at the
2 Q. Okay, none whatsoever? 2 QSE manual --
4 A. Repeat, please. 3 MR. DE LEO: Can we show it to
4 Q. None at all? 4 him?
5 MR. DE LEO: Object to the form. 5 MR. GROVER: Labeled, Charlie, as
6 THE WITNESS: No. 6 Calderon Sup 032.
7 BY MR. GROVER: 7 MR. DE LEQ: Captain -- what
8 Q. See ee Eero oes 8 number did you identify the QSE manual
9 the-companypoand by "the company” I'm g as?
10 referring to your company -- keep regarding the 10 MR. GROVER: It's Exhibit No. 49.
41 loading_and discharge of carge-in ports? 11 MR. DE LEO: And what page?
12 A. Well, we have QSM manuai and the | 12 MR. GROVER: Thirty-two.
13 cargo securing manual. 13 MR. DE LEO: Thirty-two, okay.
14 Q. Anything else? 14 The numbers, Captain, are on the
15 A. At the moment, no, I don't know. 15 lower right,
16 I don't remember. 16 MR. GROVER: Yes. It says --
17 Q. Tell me what's contained in the 47 MR, DE LEQ: Let him find it.
18 cargo securing manual? 18 Wait.
19 A. That contains how the containers 19 BY MR, GROVER:
20 have to be stowed and how they havetobe | 20 Q. -- thirty-two in Exhibit 49 --
21 lashed. 21 MR, DE LEO: He's looking for it,
22 Q. Are there written instructions 22 MR. GROVER: -- reference
23 that describe how they are to be stowed and 23 decuments, and it says Quality
24 lashed? 24 Management Manual,
25 A. There are-pictures, drawings. 25 Do you see that?

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25 27
1 THE WITNESS: The page 32, the 1 A. Theyare kept in the office in
2 last line, Quality Management Manual. 2 Hamburg and on board of the ship, of the ships,
3. BY MR, GROVER: 3 . For how many years are those
4 Q. Does the company maintain a 4 retained?
5 Quality Management Manual? 5 A. I guess five years, but I'm not
6 A. But this isn't the QSM manual, 6 sure.
7 it's our quality management — this is our 7 Q. Would any of those annual reports
8 Bible. 8 discuss the accident that involved my client?
3 Q. Yes. But if you look at this g A. Idon't know.
10 «page, it lists right above Quality Management 10 Q. Do those annual reports talk about
11. Manual, the QSE manual. 11 how to keep workers safe aboard Reederel ships?
12 In other words, it describes two 12 MR. DE LEO: Object to the form.
13. different manuals here, Am 1 wrong in thinking 13 THE WITNESS: Repeat, please, the
14° that? 14 question,
15 A. Yes, because we have only one 15 BY MR. GROVER:
16 manual. The other one is emergency response 16 Q. De those annual reports discuss
17 manual. This is another story. But we have 17 keeping safety for people an board the ship?
18 only this quality and safety. There's 18 MR. DE LEO: Object to the form,
19 everything inside, environmental and everything 19 THE WITNESS: I don't know. No.
20) what belonging to the ship. 20 I don’t think so.
21 Q@. So there is no such document as a 21 BY MR. GROVER:
22 Quality Management Manual? 22 Q. Have you ever read any of those
23 A. No, that is the same. I don't 23° annual reports?
24 know. 24 A. No.
25 Q. But why are there two different 25 Q, ho reads those reports?
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26 28
1 names here then? 1 A. Normally the master which is on
2 A. I don't know why. 2 board end of the year.
3 Q. You mentioned that there is a 3 “——@. You were the master, though,
4 document called an Emergency Response Manual. 4 weren't you, and you're a master naw?
5 Does that deal with any safety matters? 5 A. Yes, I'ma master, yes. I'm the
6 A. No. This is only in case of 6 captain now.
¢ emergency with numbers, telephone numbers, 7 Q. Have you read any of these annual
8 contacts and so on. It has nothing to do with 8 reports?
9 safety. 9 A. When I am end of the year on
10 Q. If you go to document -- if you go 10 board, I have to write a report, yes.
41 to the QSE manual, Page Number 68, it says 11 ~Q:—aré you the designated management
12 there the annual reports are made about quality 12 representative?
13° and safety from the DMR, in section 5.1. It 13 A. No.
14 says, and I quote, "The dasiqnated management 14 Q. I'm talking about annual reports
15 representatve-cemplles-an-annvalreport for 15 compiled by the DMR. Are you saying that what
16 the maraging owner, All information dating 16 this means is that the DMR gets an annual
17 fromrthe-peeceding year and deriving from the 17 report from each ship's captain?
18 quatity,safety-and-envircomental protection 18 A. No, no. There was a
19 management system function is summarized in 18 misunderstanding. We are -- we have a summary
20 thigreport.” 20 of some occurrences, a summary list of yearly,
24 And then it details some of the 21 a list We are Sending fo the DMR
22 things contained in there. Is that correct 22 This is, this report is what the
23 that these annuals reports are made? 23 captain is doing. If happens something we make
24 A. Yes, that's correct. 24 areport and this is going to the DMR.
25 Q. Where are those kept? 25 Q. Sometimes your crew members lash

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33 35
1 lashing. They tell whether it's okay or not, 1 A. More or less, yes.
2 Q. Does that explain how to go about Z Q. Does this appear to be a true,
3. the process of Jashing? 3. correct and completa-copysfthetompany's OSE
4 A. No. 4 manua? CS
5 Q. Tt just tells where the lashing is 5 ~~ MR, DE LEQ: From that time?
6 to go, correct? 6 THE WITNESS: I don't know it’s
7 A. Oniy where it has to go and maybe 7 complete. I cannot check now. To say
8 we have to set additional Jashing or the 8 yes I have to compare with the actual
9 containers are too heavy and then we have to 9 on -- but most probably, yes.
10 remove the container. The lash forces showing, 10 BY MR. GROVER:
11. but not how to do it. 11 Q. Well, why don't you take a moment
t2 Q. As the master of ships for your 12 and look at it and tell me whether it looks
13. company, have you ever received safety 13 like it's complete or not.
14 circulars? 14 MR. DE LEO: Steve, for the
16 A. Yes. 15 record, the exhibit that you've shown
16 Q. How frequently do you receive 16 the witness-stotes-at-the bottom
17 those? 17 "revision one, September 1, 2004."
18 A. Oh, this is not frequently. 18 WIRD GROVER? Are-you saying
19 Sometimes three monthly, sometimes monthly, 19 December ist, 2004?
20 it's dependent. If happen something on one 20 MR, DE LEQ: No, it says
21 company ship, some accident or some incident, 21 01/09/2004.
22 then they are sending to the other ships some 22 MR. GROVER: I just want to point
23° statements, same ~~ so -- 23 out for the sake of clarity that when
24 Q. Do you ever get statements from 24 you look at the next page at the bottom
25 Hamburg from corporate headquarters instructing 25 it says 01/09/2000, and then if you
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34 36
1 you and the rest of the ship on how to doa 1 look at the next page at the bottom it
2 procedure in a safe manner? 2 says 01/12/2007.
3 A. No, not lashing. We have to -- we 3 MR. DELEO: Yes, I think you'll
4 receive, I remember one time when ship is 4 find --
5 loading with ship cranes, the crew is not 5 MR. GROVER: There's a variation
6 allowed to go between the containers because 6 from page to page.
7 one Filipino seaman died one time. But it has 7 MR-BELEO+—Tthink that's when
8 nothing to do with lashing. It was an 8 Varlous revisions were made, but
9 accident. He was damaged by container. 9 whatever. Okay,
10 Q. Do safety circulars ever discuss 10 THE WITNESS: Oh, I think this is
11 srails, the use of rails on the ship? i1 complete, yes.
12 A. Most probably, yes, but I cannot 12. BY MR. GROVER:
13° remember now exactly it was, when, when it was |13 Q. Captain, does this appear to be
14 the circular letter. But could be, yes. 14 the current version of the QSE manual?
15 Q. When you look at this document 15 A. No, it's not the current version
16 Number 49, which is very thick, it's marked as 16 because we -- last month we received a new
17 C-A-L-D, that stands Calderon, SUP, S-U-P, 17 version, revision. A-few-pages-arereviewed, I
18 Number 7, is the first page. 1B think it was fast month, yes. June, July, at
19 A. Yes. 19 that time we received a new version, all ships
20 @. And then the final page is CALDSUP 20 received.
21 275. Bo you see the first page and the last 2 Q. Does this appear to be the version
22 page? 22 preceding the new version?
23 A. Yes. 23 A. Idon't understand what you mean.
24 Q. And this is about two inches 24 Q. Does the QSE manual that's sitting
25 thick, correct? 25 in front of you seem to be the version of the

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3? 39

41. QSE manual that existed just before this new 1 Q. Is that perhaps an international

2 version came out one month ago? 2 standard relating to cargo storage?

3 A. Yes, it looks like this is the 3 MR. DE LEO: Object to the form.

4 version before. Maybe a few pages are, because | 4 THE WITNESS: I don't know.

5 sometimes a few pages are only changed, and 5 BY MR, GROVER:

6 then they make a revision for this page only. 6 Q. Does it refresh your memory?

7 Q. If you go to the third page of the 7 A. I don't know, At the moment I

8 QSE manual -- 8 don't know.

9 A. Yes. g Q. Let me ask you another question.
10 QQ. -- Where it says, CALDSUP 9 in the 10 Do you agree with the statements that appear
11 bottom right-hand corner, it says in the bottom 11 throughout the QSE manual? Is that something
12 center of that page that this is revision one 12 that you agree with all of these various
13. dated January 12th, 2007. 13. objectives and policies of your company that
14 Do you see that? 14 are stated in the QSE manual?

15 A, Yes. No, that's not January 12th. 15 MR. DE LEO: Object to the form.
16 Itis first of December because in Germany we 16 THE WITNESS: Whether I agree?
17 make [it different than in the United States. 17 Yes.
18 For us it's always first the day and then the 18 BY MR. GROVER:
19° month. 19 Q. You agree with the statements that
20 Q. So that means that this version of 20 are made throughout this QSE manual, correct?
21 the QSE manual in Front of you is not the 21 MR. DE LEQ: Object to the form.
22 version that was in effect on the date of the 22 THE WITNESS: Yes.
23 accident in 2004 because otherwise you wouldn't 23° BY MR, GROVER:
24 have the year 2007 appearing here, correct? 24 Q. Is it your understanding that this
25 A. That's correct. 25 QSE manual and its predecessors were designed
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38 40

4 Q. Do you have the version of the QSE 1 by the company to comply with the ISM code

2 manual that was in Fe 2 which is, which exist to provide for safety on

3 A. No-Ddertcrave:— 3 board ships, correct?

4 Q. Who would have that? 4 MR. DE LEQ: Object to the form.

5 A. Because when we receive revisions 5 THE WITNESS: Yes.

6 we have to destroy the old one. We don't keep 6 BY MR. GROVER:

7 the old papers. 7 Q. On Page Number 115 that you were

8 Q. On the ship you mean? 8 just looking at, in the middle of the page it

g A. Onthe ship. Yes. We receive -- 9 says, "remarks" next to the number 6.3.

10 Q. In Hamburg they might keep the ald 10 A. Yes.

11. version, correct? 41 Q. And this is in a section of the

12 A. This Idon't know, Maybe. I 12 manual that is called, "loading and discharging
43 don't know. 13 of container vessels."

i4 Q. If you go ta Page Number 115, in 14 Do you see that?

15 the middle of the page it says, 15 A. Yes.

16 “documentation.” 16 Q. This revision has existed, if you

17 Do you see that? 17 look at the bottom of the page, since September
18 A. Yes. 18 1, 2000, correct?

19 Q@. And you see where it says 19 A. Correct.

20 "bibliography" above that? 20 Q. Do you agree with the statement

21 A. Yes. 21 under Remarks where it says, “Some of the

22 Q. Under bibliography it says "CSS 22 operations already described may be carried out
23> code." Do you know what that is? 23 by third parties. Even so, the vessel's

24 A. Atthe moment I don't know. I 24 officers are still responsible for supervising

25 don't remember. 26 operations."

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41 43
1 Do you agree with that? 1 platform, correct?
2 MR, DE LEO: Object to the farm. 2 A. Yes.
3 THE WITNESS: Yes. 3 Q. It's not just longshoremen who go
4 BYWMR. GROVER: 4 on to the lashing platform. Alsa crew members
5 Q. Have you seen a bogk called a § go there, correct?
6 Training Manual that is used by your company? 6 A. Correct,
7 A. Yes. 7 Q. Soe where does the description in
8 Q. Does that go back more than five 8 writing about how to conduct their activities
9 years or is that something new? 9 from that lashing platform?
40 A. Qh, Iam not sure now when we 10 MR. DE LEO: Object to the form.
11 start with this. I don't know. 11 THE WITNESS: There is no
12 Q. What is contained in the training 12 description. I don't know. There is
13. manual? 13 -- T have never seen a description
14 Hella? 14 where it's written how to set a lashing
15 A. At the moment I don't know what is 15 on a container from this platform.
16 exactly written there. 16 MR. DE LEO: Steve, the
17 Q. Well, here's what I'm trying to 17 videographer needs to change tapes.
18 figure out, Captain. I've read the QSE manual 18 MR. GROVER: Okay, we'll take a
19 and it tatess-atotahout safety, but it doesn't 19 break.
20 get into much detail about how to conduct 20 MR. DE LEQ: Captain, at anytime
21 operations in a safe way, in my opinion. 21 that you need to take a longer break,
22 I'm not saying you agree with 22 you know, we can. If you need to go to
23 that. it doesn't explain in sentence form, in 23 the restroom or, you know, whatever.
24 words, how the various things are to be done on 24 This is not a marathon exercise here,
25 the ship. It only sets forth general 25 particularly at 6:15 in the morning.
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42 44
1 principles. 4 (Thereupon, a short recess was
2 My question is, where is the other 2 taken to change the videotape.)
3 information contained that telis crew members 3 MR. DE LEO: Okay, the tape is
4 how ta.conduct seagoing and terminal operations 4 running again, Steve.
5 safely? , 5 MR. GROVER: Okay, thank you.
6-~——_____ MR. DE LEO: Object to the form. 6 BY MR. GROVER:
7 THE WITNESS: We have, let's say, 7 Q. Well, let's talk about the hatch
8 safety work on board, some booklets, B cover. The hatch cover is a very important
9 but these booklets Includes normally 9 feature of a container ship, correct?
10 only seafarers work. it means working 10 A. Yes.
11 with ropes and working aloft and all of 14 Q. Aren't there written policies and
12 these things which 1s normally 42 procedures about trow1d operate the hatch
13 seafarers’ work, 13 cover?
14 Because the lashing of containers 14 Can you hear me?
15 is not the seafarer's work. What we 15 A. Yes. Just I'm thinking where some
16 are doing is only checking and 16 written. We have -- to open antctose hatch
17 retightening the lashing because we are 47 cover and make hatch cover sea tight, we have a
18 or the ship, we are responsible for the 18 manual from this from the factory of the hatch
19 safety of the ship at sea. So we must 19 cover. And this is a crew job to close and
20 be sure that the lashings are tight. 20 open, let’s say to unlock the hatch covers.
24 But -- 21 Q. You earlier said that crew members
22 BY MR. GROVER: 22 often have to work aloft, correct?
23 Q. Let me give you an example. One 23 A. Yes. Sometimes they are working
24 of the photographs you looked at prior to the 24 aloft for painting or washing or something.

25 deposition was a photograph of the lashing
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th
on

 

Q. I’m sorry, I couldn't hear you.
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B1 83
1 Q. Does that "SF" on it stand for the 1 BY MR, GROVER:
2 SAN FELIPE? 2 Q. The lashing platform, is that
3 A. What stand? 3 something that came with the ship when it was
4 Q. It says the letter "S" and the 4 built or ts that something that is added on
5 letter "F.” If you turn the photograph 5 later?
6 sideways you will see where it's red, there's 6 _ A. No, this came with the ship from
7 two letters, "S" and "F". 7 shipyard.
8 A. It looks like it can be -- oh, 8 MR, DE LEO: Steve, are you there?
9 it's difficult to read. g We are off the record due to technical
10 Q. Well, is this the type of spanner 10 difficulties with the call and we are
11 that was used on the ship back In 2004? 11 going to change tape and wait for
12 A. I would say yes, because we have | 12 Mr. Grover to call back,
13 only this type. 43 (Thereupon, a short recess was
14 Q. Exhibit No. 23 is called a 14 taken to change the videotape.)
15 Container Securing Manual. 15 MR. DE LEO: We're on.
16 A. Yes. 16 MR. GROVER: Okay, can you hear
17 Q. I didn't give you the entire 17 me?
18 manual. I'm not even sure that I have the 18 MR. DE LEO: Yes.
19 entire manual. In factLthink I don't. But 19 BY MR, GROVER:
20 (Just-gave you the front page that says 20 Q. Captain, when you were saying that
21 Container Securing Manual, | ontainer Stowage |21 the removable stanchions and lines aren't used
22 Plan Deck GL98, 22 on the hatch cover side of the lashing platform
23 Is this the Container Securing 23 when lashing operations are done there, does
24 Manual-you were Tetéiing to Satter? 24 that signify to you that the ship considered it
25 A. Yes. This is cur Container 25 safe to perform lashings From the lashing
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82 84
i Securing Manual which shows us how the 1 platform without those in place?
2 containerhas to be lashed. 2 MR. DE LEO: Object te the form.
3 Q. And this is the manual that is 3 THE WITNESS: No. I -- I don't
4 only comprised of charts and diagrams and 4 know, but --
5 doesn’t have written, any written information 5 BY MR, GROVER:
6 abouthew-to_go about s@curing- containers, if 6 Q. Well, is this a case that a fall
7 you have those charts, dfagrams-arid numbers, 7 hazard wasn't considered to be great between
8 correct? 8 the hatch cover and the lashing platform --
9 A. That's-correct. g MR. DE LEO: Object to the form.
10 Q. IF you look at Exhibit No. 24 -- 10 BY MR. GROVER:
11 before we go to that, Exhibit 23 appears to be 11 Q. -- or otherwise some greater
42 a true and correct copy of the cover of the 12 precaution would be taken to prevent falls
43. container securing manual that was in effect 13° there?
14 back in 2004? 44 MR. DE LEO: Same objection.
15 A. I would say yes. Yes. 15 THE WITNESS: Could you repeat,
16 Q. Exhibit No. 24, is from Ltoyd's 16 please, the question, the first part.
17 register of ships. And on the third page 17 MR. GROVER: Julio, could you read
1B towards the bottom do you see the description |18 that back, please?
419 of the SAN FELIPE? 19 (Thereupon, the above-mentioned
20 A. Yes. 20 question was read by the reporter as
21 Q. Does it say there what year the 21 above recorded.)
22 ship was built? 22 THE WITNESS: No, I don't know why
23 MR. DE LEO: Object to the form, 23 they make this, This is the
24 THE WITNESS: Let me see when the i 24 construction of the ship.
25 ship was built. Yes, 1996. 25 BY MR. GROVER:
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129 134
1 Q. That's the person who watches the 4 maqguals, but regarding safety work on
2 entrance to and from the ship, correct? 2 board WHICH not incline Sap
3 A. Yes. 3 lashing of tuntainers; betause this is
4 QQ. And Mr. Arias looks like he was 4 a stevedore’s :
5 one of the watchmen, correct? 5 BY MR. GROVER:
6 MR. DE LEO: Object to the form. 6 Q. But sometimes those -- but your
7 BY MR. GROVER: 7 seamen walk about the ship and the same sort of
8 Q. Fle is the sixth one listed there, 8 rules about safety that pertain to your crew
9 correct? 9 members are a reflection of what safe
10 A. But on the right side that means 10 activities are of visitors on the ship, too,
11. this is, which crew has temporarily left the 11 right?
12 vessel, maybe to make a telephone call or 12 MR, DE LEO: Object to the form.
13. something. Because -- 13 THE WITNESS: What -- repeat,
14 @. So did that mean that Mr. Arias 14 please the question. I-- I didn’t
15 left at 8:35 in the morning and returned at 15 understand really what you're saying.
16 noon? 16 BY MR. GROVER:
17 A. Most probably because his watch 17 Q. The question is, eve ou
18 wasin the afternoon. When he was on the time [18 say those-safes+manuals.only pertain to crew
19 of this accident on deck, his watch was in the 19 members,.those safety manuals state what proper
20 afternoon. So in the morning he had free time 20 safpty is for crew members on the ship, right?
21 and most probably he was on shore, and it's 21 MR. DE LEO: Object to the form,
22. written here. 22 THE WITNESS: Yes.
23 Q. What does that number mean 23° BY MR, GROVER:
24 underneath -- wait a second. There are two 24 Q. What they should do and shouldn't
25 mumbers there. There's 12:00 and there's 25 da, correct?
MOCEGA & ASSOC. (305) 374-0181 MOCEGA & ASSOC. (305) 374-0181
130 132
41 another number underneath it, and it looks like 1 MR, DE LEO: Object to the form.
2 the top number pertains to able-bodiecl seamen 2 THE WITNESS: What they should do?
3 Origenes. And the bottom one pertains to 3 Well, there it's stated, for
4 Mr, Arias, correct? 4 example, Use & helmet, use safety
5 A. Yes. I don't know why they say, 5 shoes, and wiiéiT you work with @ grinder
6 put two numbers here, but it looks like that ts 6 use goggles. And it's normally safety
7 the time when he came back, 9:17, and, and this | 7 procedure and be caretarwhen you
B 12:00 is -- I don't know at the moment why they | 8 handlewith ropes, and-use safety belt
9 made this like this. 9 when you're warking somewhere aloft and
10 Q. So it locks to you like Mr. Arias 10 this precedure. We have some manuals.
1i left the ship at 8:35 a.m., and returned at 11. BY MR. GROVER:
12 9:17 a.m? 12 G@. And that's for a number of
13 A. I think so, yes, because in 13. procedures, correct?
14 American ports there are public telephones on 14 A. Yes, for safety work, for seamen
15 the berth and they have this card, itis very 15 safety work on board.
16 cheap to call. So most of the crew that takes 16 Q. Does it talk about avoiding falls?
17 the opportunity and calls. 17 A. Avoiding, yes, falls and
18 Q. Now, Captain, there's been a lot 18 accidents, yes.
19 of time that's gone by since the deposition 19 Q. Do you know whether Mr. Arias
20 started. Can you think of any safety manuals 20 «contacted any officer about Mr. Calderon before
21 at this point that crew members are expected to 21. Mr. Calderon fell?
22 familiqrizethemselvés with that are kept on 22 MR. DE LEQ: Object to the form.
23 «the ship? 23 THE WITNESS: I don't know.
24 — MR, DE LEO: Form. 24 BY MR. GROVER:
25 THE WITNESS: Well, we have safety 25 Q. Was there any sign on the ship at

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149 154
4 It's -- 1 BY MR, GROVER:
2 BY MR. GROVER: 2 Q. How about that in Number nine, "As
3 Q. Do you agree with the next page, 3 a matter of course all personnel shall abide by
4 that's CLDSUP 9, that describes your company? 4 relevant national and international
5 MR. DE LEQ: Same objection. 5 regulations."
6 THE WITNESS: Yes. 6 And Number 11, "The technical
7 BY MR. GROVER: 7 condition of our ships and their equipment is
8 Q. On the next page CLDSUP 10, who is 8B not governed by international minimum standards
9 the OSE manager? 9 but by the highest standards of Reederei
10 A. At the moment it is Mr. Schmidt. 10 Claus-Peter Offen."
14 Q. What js his first name, if you 11 Do you agree with those
12. remember? Is it Michael Schmidt? 12 statements?
13 A. Miguel Schmidt, yes. Michael 43 MR, DE LEO: Object to the form.
14 Schmidt, yes. 14 THE WITNESS: Yes. I agree, yes.
15 Q. Who is the DMR shoreside? 15 BY MR, GROVER:
16 A. Heis the DMR. 16 Q. So your company is governed by a
17 Q. Who is the company -- strike that. 17 higher standard than international standards,
18 Who fs the QSE superintendent? 48 correct?
19 A. Who is the superintendent? 19 MR. DE LEQ: Object to the form.
20 I think it ts Mr. Storz , but I'm 20 THE WITNESS: I don't know. I'm
21 not sure. 21 only a master here, and I think the
22 Q. Heivko Stoatz? 22 company policy is like this, but if
23 A. Ithink so, yes, because I 23 they can do it or can follow this
24 received mostly papers from him regarding 24 policy always, that ts not in my,
25 safety and security from Mr. Stoatz. 25 that's in my hands, I don't know,
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150 452
1 @. Who is the expert for occupational i BY MR. GROVER:
2 safety? 2 Q. The last sentence on Page 13 says,
3 A. Occupational what, please? 3 "The continuous supervision of our QSE system
4 Q. Occupational safety. In the top 4 in the free work of certification by
§ right-hand corner of the organizational chart 5 Germanisher Lloyd shall be in evidence to our
6 on CLDOSUP 10, it says there's an expert for 6 clients that we revisably establish and follow
7 accupational safety. 7 the regulation for our activities according to
8 A. Yes, Mr. Stoatz. 8 international recognized standards."
g Q. Do you agree with the statements 9 Do you see where it says that on
10 on CLDSUP 12 and 137 10 the bottom of Page 13?
11 MR. DE LEO: Object to the form. 11 A. Yes,
12 THE WITNESS: What page you mean? 42 Q. What is Germanisher Lloyd?
13 MR. DE LEO: He's referring to 13 A. It's a classification society, and
14 the -- 14 all of these vessels from this company are
15 BY MR. GROVER: 15 under Germanisher Lloyd, containers ships,
16 Q. CLOSUP 12 and 13? 16 maybe the tankers not, but the containers ships
17 MR, DE LEO: He's referring to the 17 are under Germanisher Lloyd. And Germanisher
18 numbers on the bottom. 18 Lloyd is doing the yearly or half yearly or
19 THE WITNESS: Yes. 49 three monthly inspection, not three monthly,
20 BY MR, GROVER: 20 but yearly inspections.
21 Q. And you agree on Page 13, Number 21 External inspections, and internal
22 11, "The safety at work and the protection of 22 inspections are done by the superintendent.
23 health of all personnel is one of the prirne 23. Three, four monthly, and external inspections
24 tasks of all superiors." 24 by Germanisher Lloyd.
25 MR, DE LEO: Object to the form. 25 Q. Who is the German flag authority?

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153 155
1 A. Repeat please. 1 MR. DE LEO: Fine, fine, but let's
2. Q. Who is the German flag authority? 2 not talk about it. Let's doit, Let's
3 MR. DE LEO: Object to the form. 3 keep pushing.
4 THE WITNESS: German flag 4 MR. GROVER: I'm trying to explain
5 authority? The German government are 5 to you, Charlie, that I'm not trying to
6 German flag. 6 have an argument. I'm explaining that
7 BY MR. GROVER: 7 I'm trying not to waste time asking
8 Q. On Page Number 20 of Exhibit 48, B questions about a page that says on the
9 excuse me, 49 of the QSE manual, again Page 9 bottom of the 2007 by accident and if
10 Number 20. 10 it's taking me a little more time to
11 A. Yes. 11 avoid that --
12 Q@. Do you agree with section three? 12 MR. DE LEO: Fine, fine. I'm not
13 MR. DE LEQ: Object to the form. 13 arguing with you, Steve. I have no
14 THE WITNESS: Yes. 14 problem with that. But just please
15 BY MR. GROVER: 15 keep going.
16 Q. Was there any less of a business 16 MR. GROVER: I'm trying to ask a
17 objective of quality and safety back in 2004 17 couple of all encompassing questions to
18 than there is now? 18 try to limit questioning, Charlie,
19 A. That I don't know. I have to 19 about this document. Okay?
20 compare the actual divisions and the other 20 MR. DE LEO: Fine.
21. divisions. I don't know. 214 MR. GROVER: That's what I'm
22 MR. GROVER: Charlie, I'm just 22 trying to de.
23 having some issues here. If I'm 23 MR, DE LEO: Okay. Do it.
24 stowing down a little bit it's because 24 BY MR. GROVER:
25 some of these pages have the, you have 25 Q. Captain Niewidok, you reviewed
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154 156
1 more recent revision than the accident 1 this OSE manual before this deposition and some
2 date and I'm trying to avoid asking 2. during this deposition, correct?
3 questions about those. It looks like 3 A. Yes, not the whole manual, a few
4 this is not the QSE manual that was in 4 pages.
5 effect back in 2004. Parts of it 5 Q. But you've had to look at this
6 obviously were but parts of it -- 6 manual many times over the years, correct?
7 MR. DE LEO: Well, the Captain 7 It's something that you often look at, right?
8 testified he didn't draft if, so I 8 A. Yeah, we -- frequently if I want
g don't think this is the right witness 9 to know, I'm looking in, and also we have every
10 to be going through this, but, you 10 year we have audits, so there are coming
11 know, let's keep going. He's got to 11. questions regarding this.
12 get back to his ship. He's got to sail 12 Q. You're very familiar with it,
13 for the Persian Gulf. 13° correct?
14 MR, GROVER: Well, we've got to 14 MR. DE LEO: Object to the form.
15 continue 15 THE WITNESS: More or less, yes.
16 MR. DE LEO: Yes, keep pushing. 16 Although --
17 Yes. It's 9:15 here. We've been at it 17 BY MR. GROVER:
18 since -- 18 Q. It's something you've locked at
19 MR. GROVER: I told you that we 13 dozens of times over the years, correct?
20 needed at least five hours and probably 20 MR. DE LEO: Object to the form.
21 six, and I'm not going to be rushed. 21 Steve, asked and answered. You're
22 MR. DE LEQ: I'm not trying to 22 beginning to argue with him, please.
23 rush you. 23 MR. GROVER: I'm not arguing --
24 MR, GROVER: I also have a job to 24 okay, I won't try to save time then.
25 do. 25 MR. DE LEO: No, Just keep going.
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157 169 ~
1 I'm just gaing to object to the farm. 1 Q. And on Page 36 --
2 Just keep plugging, 2 A. 36,
3 BY MR, GROVER: 3 Q. -- it says as follows: "RCPO
4 Q. Captain, ts this QSE manual 4 ships are deemed safe to a high technical
5 something that has evolved over time, yes § standard conforming with relevant international
6 right? 6 national and other regulations and internal
7 MR. DE LEO: Object to the form. 7 requirements of RCPO."
8 THE WITNESS: Yes, 8 That's paragraph 1.2.1.
g BY MR. GROVER: 9 A. Yes.
10 Q. But you've also studied it many 10 Q. Do you agree with that?
41. times over the years, correct? 14 A. Yes, that is normally the
42 MR, DE LEO: Same objection. 12 company's policy.
13 THE WITNESS: Several times I'm 13 Q. And paragraph 1.2.3 says, "Defects
14 looking at it, yes. 14 and weak points which have been noticed are
15 BY MR. GROVER: 16 being ellminated by corrective action.”
16 @. And it's your job to be familiar 16 Do you agree with that?
17 with it because it deals with important safety 17 A. Yes, lagree. But if it's always
18 issues, right? 18 really working, I don't know because the
19 A. Yes. 49 company is in Hamburg, the ship is somewhere,
20 Q. And itis a correct statement of 20 and then modification and then some
21 your company's total position as it has evolved 21. modification must be approved by Germanisher
22 over the years regarding safety and performance 22 Lioyd, and sometimes it’s not too easy to make
23 of duties, correct? 23. some changes on a ship. But we are improving,
24 MR, OE LEO: Object to the form. 24 we are trying our best.
25 THE WITNESS: Yes. 25 Q. And on Page Number 45, the second
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158 160
1 BY MR. GROVER: 1 paragraph says, "RCPO services are provided on
2 Q. And if a page of this was in 2 the basis of documented procedures in which all
3 existence as of the date of the accident then 3. required measures and processes are laid down.
4 it was the policy of your company as of the 4 If need be, the procedures are supplemented by
6 date of the accident, correct? § more detailed information on resources,
6 MR. DE LEQ: Object to the form. 6 processes, test methods including acceptance
7 THE WITNESS: Yes, because this 7 criteria and necessary records.
8 basically was in the beginning. We 8 The data in the documented
9 stat with this manual in 2000, and, and § procedures are generally based on checklists,
10 generally it's not big changed, only a 40 forms, operational and repair instructions and
11 few pages they improving. 41. the appropriate software."
12. BY MR. GROVER: 12 Then in paragraph 2,2 it says,
13 Q. So there have only been some small 13. "RCPO ships maintained at a high technical
14 changes to it since 2000, correct? 14. standard, RCPOs own internal requirements
15 A. Some additional things, new 16 demand a higher standard than those stipulated
16 regulations we to have follow and those Ihave [16 in the relevant international, national and
17. to always keep it updated, but generally it was) |17 other regulations."
18 created in 2000 when ISM is coming in -- 18 Do you agree with this statement
19 Q. And it correctly shows your 19 on Page 45 that I read?
20 company's position about the ISM cade and its 20 MR. DE LEO: Object to the form.
271. own positions regarding safety, correct? 21 THE WITNESS: Well, this is the
22 MR. DE LEQ: Object to the form. 22 company's policy.
23 THE WITNESS: I think, yes, 23 BY MR. GROVER:
24 because -- 24 Q. Now, it does say here in part of
25 BY MR. GROVER: 25 what I said that service operations are placed
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1 Into documents in which measures and processes 1 THE WITNESS: No.

2 are laid down, that is, in which they are set 2 MR. GROVER: I didn't hear you,

3 forth. And it says that most of it comes in 3 Charlie.

4 the form of checklists and forms. 4 MR. DE LEO: I said let him finish

5 Do you understand that? 5 his answer, please.

6 A. Yes. 6 THE WITNESS: Repeat your

7 Q@. The question is, besides the, this 7 question, please.

§ book that we're looking at, and besides the 8B BY MR, GROVER:

9 safety manual, and besides those forms and 9 Q. Those safety procedures are kept
10 checklists, is there any other significant 10 ina notebook that is separate from the safety
41. manual that your company has that deals with 11. manual, correct?
42° safety? 12 A. Yes.

13 For example, a notebook filled 13 Q. On Page Number 47 It says at the
14 with safet edures that's separate and 14 top, "Cargo is professionally stowed and
15 apart fram a safety manual, 15 secured. Whilst in transit cargo is constantly
16 A. We have safety manuals for, for 16 checked and controlled by the ship's crew."
17 example, for fire fighting. We have for, if in 17 Do you agree?
18 case of something happens, for example, a 18 A. Yes.
19 stranding, grounding and a collision, and we 19 Q. And on Page Number 64, this page
20 have procedures in this manual, how we have to 20 says, "Preparation, checking, implementation
21 act. Bu it's all things Which are only ~ 21 and maintenance of written procedures."
22 negarding the ship Soa The Gon Hoar we, what | 22 And it says in paragraph 1.3,
23. we have to do, But mostly at sea. But this is 23 “Procedures are detailed instructions in our
24 in our crew manual, It's written there, 24 shipping company describing who shall do
25 Q. Along those lines -- well, does 25 something, what shall be done, when shall It be

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162 164

4 your company collect all of their safety 1 done, how shall tt be done, where shall it be

2 memoranda that come out in one place? 2 done, with what shall it be done, with whom

3 A. Yeah, we have, on board we have 3 shall it be done together."

4 folders, for cxample, for SaTety THeiicrandums we | 4 Besides this QSE manual, those

5 put in phone muambave-anc-one- two 5 questions are answered by looking at the safety

6 —~Q. So that's on yourstiptight now? 6 manual, the notebook filled with safety

7 A. Yes, we have some on our ship. 7 procedures that you described, and any other

8 Yes, & place that safety procedures are stored by your

g Q. That's separate from the safety. 9 company or on your ships, correct?

10 manual, correct? 10 A. Yes.

11 A. Separate, in a separate folder, 1 Q. Was there a "yes" on that, I

12° yes. 12° didn't hear?

13 “~~Q._ And it's filled with safety 13 THE COURT REPORTER: Yes, he
14 procedures, correct? 14 answered yes,

15 A. Repeat please. 45 BY MR. GROVER:

16 Q, \And that notebook is filled with 16 Q. On Page 65 It says that, "Safety
17 safety procedures, correct? 17 procedures usually will be prepared as a

18 ————“ MRT DETED: Objection, asked and 18 document by use of a PC. PCs are available in
19 answered, 19 the RCPO office, as well as on board on your
20 THE WITNESS: Yes, when we -- 20) vessels."

21 BY MR. GROVER: 21 Is that correct, that most safety
22 Q@. You can just say, yes. You don't 22 procedures are available on the computers, on
23 have to explain everything. 23 the ships and tn your offices in Hamburg?

24 MR, DE LEQ: Steve, he's entitled 24 A. Yes.

25 to explain, Let him finish his answer. 25 MR. DE LEQ: He needs to change

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1 the tape, and I need te take a break. 1 117 and tell me whether those pages were in

2 So we're off the tape. 2 effect, to the best of your belief, at the time

3 (Thereupon, a shert recess was 3 of the accident.

4 taken ta change the videotape.) 4 Actually, let me back, change the

5 MR, DE LEO: Back on the record, 5 question and make it a little easier. Hold on.

6 BY MR. GROVER: 6 Can you tell me whether Pages 111

7 Q. Has the scene where Mr. Calderon's 7 through 117, again, that's Pages 111 through

8 accident tock place changed In any way from the 8 117, were In effect and were the policies of

9 time since he was injured there? 9 your company regarding loading and discharging
10 MR, DE LEO: Object to the farm. 10 of container vessels In 2004?

11 THE WITNESS; What Is the 11 MR. DE LEO: Object to the form.
12 question? 12 THE WITNESS: Yes.
13° BY MR. GROVER: 13° BY MR. GROVER:
14 Q. That's a question. I realize you 14 Q. Now, can you go to Page 143,
15 haven't been on the ship the whole time since 15 please?
16 the accident, but from the time the accident 16 A. Yes, I have it.
17 took place until you left the SAN FELIPE, was 17 Q. In the left-hand corner, top
18 the accident scene, specifically that area of 18 left-hand corner it says “obsolete” here also.
49 the hatch cover and the lashing platform 19 Do you see that?
20 changed in any physical way or was It kept the 20 A. Yes.
21 same? 21 Q. I want you to please read Pages
22 A. It was kept the same because I -- 22 143 through 145, there's almost nothing on Page
23 no. It was only a few months later I signed 23 145, and teli me whether the policies and
24 off and I never went back to the ship. 24 procedures described in these three pages were
25 Q. In the QSE manual can you please 25 in effect in 2004?

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166 168

1 goto Page Number 111; 111? 1 A. I would say, yes.

2 A. Yes, I have it. 2 Q. On Page 152 there's a form called

3 Q. Do you see at the top right corner 3 An Occurrence Report. Again, that's An

4 where it says "obsolete?" 4 Occurrence Report. This Is dated December of

5 A. Yes. 5 2006,

6 Q. What does that mean? Does that 6 My question is, is a form like

7 mean that this section of the QSE manual is no 7 this, something similar to this, did it exist

8 longer in effect? 8 back in 2004?

9 A. I don't know. Maybe there's a new | 9 A. Yes, At the moment I don't know
10 revision meanwhile. I don't know why it's 10 when this form came first, this Occurrence
41 written there. In mine it's not written what I |/1i Report. I don't know.

12 have on board. 42 Q. On Page Number 161, again, that's
13 Q. Is this section called Loading and 13. Page 161, section 6,2 there's a reference there
14 Discharging of Container Vessels still in 14 to operation manuals. Is there an operation

16 effect In your version of the QSE manual that 15 manual for the ship?

16 you keep on the ship? 16 A. No, there are several operation
17 A. It's still. Maybe a little bit 17 manuals,

18 modified, a little bit only, because this is a 48 Q. What kind are there?

19 very old revision here. But it’s still in 19 A. For example, for crane operating,
20 effect for sure. 20 for winches operating, for several operating,
21 Q. What was the last thing you said? 21 different machineries. We have operation
22 A. It's still in effect for sure. 22 manuals for the engine.

23 Q. Well, here is what I need you to 23 Q. Is there an operation manual for

24 do, since this Is a significant portion of the 24 watching the containers during transit?

25 QSE manual. Can you look at Pages 111 through | 25 A. I don't know, I don't think so.

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1 ButI don't know really. I don't know. 1. the chief engineer, the second engineer, the
2 Q. Is there any sort of manual 2 safety officer, a crew representative and any
3. concerning watching the containers during 3 other personnel that may be required by the
4 transit? 4 committee."
5 A. Well, -- our QSM manual, but no 5 A. Yes, that's correct.
6 other manual, no operation manual. 6 @. Is that done on your present ship?
7 Q. Is there any kind of manual having 7 A. Yes.
B to do with operations while at port? 8 Q. Was that done on the SAN FELIPE
5 A. We have operation manuals 9 while you were the master?
10 regarding security, the ISPS code. 10 A. Yes, we have done it also, yes.
11 Q. Is there any other operation 11 Q. Monthly, correct?
12) manual or a manual of any kind having to do 12 A. If possible, monthly. We try to
13° with what your company's ships do tn port 13. keep it monthly.
14 besides the security one you're talking about? 14 Q. Do you recall there being any
15 A. The QSM manual at the moment is 15 discussion after Mr. Calderon fell that that
18 what I remember, 16 area where he fell fram was a dangerous spot to
17 Q. On Page 176 It says that 17 the ship?
18 "Defective products, goods, services, etcetera, 18 MR. DE LEO: Object to the form.
19 have to be detected. This is achieved by RCPO 19 THE WITNESS: I guess 7 don‘t
20 staff carrying out permanent Inspection, 20 remember that we talked about this, I
241 testing and supervision, All defective errors 21 don’t remember.
22 and defects, whether caused by staff of RCPO or 22 BY MR. GROVER:
23 third party are passed on to the responsible 23 Q. If It was discussed in a safety
24 person in order to be properly followed up." 24 meeting, would a record exist of notes from
25 Was that also the policy of the 26 that safety meeting, If it was discussed?
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170 172
1 company back in 2004? 1 A. Tf, yes.
2 A. Idon't know, because this -- 2 Q. On the date of the accident who
3 Q. Okay. 3. was communicating with the stevedores
4 A. -- revision is newer. I don't 4 concerning their operations on board the SAN
5 know. 5 FELIPE?
6 Q. Are appraisals done of crew 6 A. I don’t remember, I don't
7 member's performance? 7 understand communication between whom. Can you
8 A. If necessary, yes. & repeat, please.
9 Q. And you agree with the statement 9 Q. On the date of the accident who
10 on Page 122 dating back te 2001, that the 10 from your ship was communicating with the
11° working jJanguage on the RCPO ships for all crew 41. stevedores concerning the stevedores’
12 members is English? 12 operations on board the ship?
13 A. Yes. 13 MR. DE LEO: Object to the form.
14 Q. On Page 247 there's a section that 14 THE WITNESS: Most probably chief
15 says Claims Prevention, section 5.3. 15 mate, but I don't know exactly.
16 Do you agree with that section? 16 Normally chief mate, Is cargo officer.
17 MR, DE LEG: Object to the form. 17 BY MR. GROVER:
4B THE WITNESS: Yes, 18 Q. It would be the chief mate who
19 BY MR. GROVER: 719 would normally do that, correct?
20 Q. On Page 262 it says that "The 20 A. Yes,
21° safety committee meets regularly once a month 21 Q. Have you ever been part of a
22 to discuss and review safety procedures and 22 situation In which longshoremen, before
23 standards." 23° entering on the ship or right after entering on
24 It says that "The safety committee 24 to the ship, were warned about something
25 is comprised of the master, the chief officer, 25 dangerous on the ship?
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